ND Highway 1806 bridge and roadway remain closed north of Cannonball
due to bridge damage

The North Dakota Department of Transportation (NO DOT) and North Dakota Highway Patrol
will keep ND Highway 1806 and the Backwater Bridge located on ND 1806 closed north of the
Cannonball River until further notice. The highway bridge which travels over Cantapeta Creek
north of Cannonball was damaged last night when protesters placed vehicles and other debris
and set items on fire on the bridge.

The bridge is unsafe for anyone to cross and will remain closed until all damage to the structure
is evaluated by bridge engineers. During the closure motorists need to use alternate routes.


 North Dakota Department of Transportation          608 East B0!..1levard, Bismarck, I\JD 58505




                                                                                                  EXHIBIT
